    Case 4:18-cr-00335 Document 103 Filed on 03/24/22 in TXSD Page 1 of 3




                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

UNITED STATES OF AMERICA                '
                                        '
      v.                                '   CRIMINAL NO. H-18-335-002
                                        '
YUSAFALI MURTAZA JUMA                   '

                   GOVERNMENT=S MOTION TO DISMISS


TO THE HONORABLE COURT:
     The United States of America moves to dismiss without prejudice the

indictment pending against the defendant.        The defendant stands charged by

indictment with one count of conspiracy to traffic in counterfeit goods and three

counts of trafficking in counterfeit goods, all in violation of Title 18, United States

Code, Section 2320. The defendant faces these charges along with a co-defendant,

his father Murtaza Yusuf Juma, who pleaded guilty to one count of trafficking in

counterfeit goods.     Murtaza Juma owned and operated AgeMicro, LLC in

Longwood, Florida.      The defendant worked for his father at the business. An

investigation conducted by the United States Department of Homeland Security

revealed that AgeMicro purchased counterfeit computer parts from the People’s

Republic of China and sold them as genuine in the United States, in violation of U.S.

trademark laws. Murtaza Juma has proffered that while his son (the defendant)

assisted him in the operation of the business, the defendant had no knowledge that
    Case 4:18-cr-00335 Document 103 Filed on 03/24/22 in TXSD Page 2 of 3




the products sold by the company were counterfeit. Murtaza Juma also proffered

that he personally emailed foreign manufacturers/distributors of the counterfeit

computer parts using the company email account bearing his last name, as well as

other email accounts in the defendant’s name. Murtaza Juma proffered that he was

the one responsible for using those accounts to perpetrate the offense to which he

pleaded guilty and the offenses with which the defendant has been charged.

      Therefore, the United States requests that the charges in the indictment against

the defendant be dismissed without prejudice.




                                             Respectfully Submitted,

                                             JENNIFER B. LOWERY
                                             United States Attorney
    Case 4:18-cr-00335 Document 103 Filed on 03/24/22 in TXSD Page 3 of 3




                    UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION


UNITED STATES OF AMERICA             '
                                     '
      v.                             '   CRIMINAL NO. H-18-335-002
                                     '
YUSAFALI MURTAZA JUMA                '


                                    ORDER


      The government=s motion to dismiss the indictment is granted.

      IT IS ORDERED that the charges in the indictment against Defendant

Yusufali Murtaza Juma are dismissed without prejudice. The charges in the

indictment against Murtaza Yusuf Juma remain in effect.

      SIGNED in Houston, Texas on _______________________, 2022.




                                     ______________________________
                                     EWING WERLEIN, Jr.
                                     UNITED STATES DISTRICT JUDGE
